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SCHEDULE A

Pursuant to 28 U.S.C. § 1782, The Republic of the Gambia, by and through undersigned
counsel, request that Facebook, Inc. (“Facebook”) produce for inspection each of the documents
and tangible things described below at the offices of Miller & Chevalier Chartered, 900 16th
Street, NW, Washington, D.C. 20006 (attention: Aiysha Hussain).

INSTRUCTIONS

1, These requests cover all documents and tangible things in the Facebook’s actual or
constructive possession, custody, or control.

2. If any portion of any document is responsive to any request herein, you shall
produce the entire document.

3. Each responsive document produced pursuant to these requests shall include all
attachments and enclosures either referred to or originally attached to or enclosed with the
document produced.

4. If any requested document or thing is maintained or exists in digital, electronic or
imaged form, you shall produce both a tangible (or “hard”) copy of the document and a copy of
the document in its digital, electronic or imaged form.

5. Where originals of documents are not available, authentic copies of such documents
may be produced. If, however, a document has been prepared in separate copies, or additional
copies have been made and the copies are not identical (whether by reason of modification,
marginal notes, comments, or other material contained in or attached to the copy), you shall
separately produce all such non-identical copies.

6. If any requested document or thing was, but no longer is, in your possession,

custody, or control, or is known to you but is no longer in existence or not within your possession,
 

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custody, or control, state whether it is (a) missing or lost, (b) destroyed, (c) deleted, (d) transferred
(voluntarily or involuntarily) to others, or (e) disposed of in some other manner. In each instance,
explain in detail the circumstances surrounding the disposition of the document or thing, including
who authorized the action taken, who performed the action, and the date the action was taken.

7. If Facebook objects to any of these document requests, then Facebook shall state
the reasons for its objections. If the Facebook objects to any part of a document request, then it
shall further specify the part. Similarly, if Facebook does not object to a particular document
request, but is unable to respond fully to that document request, then it shall respond to the fullest
extent possible and provide an explanation for its lack of a full response.

8. These requests are addressed to Facebook, which includes any other person acting
on behalf of Facebook or on whose behalf the Facebook has acted, or any other person otherwise
controlled by the Facebook.

9. When any document or any portion of a document is withheld on a claim that the
information is privileged or subject to protection as attorney work product material, you shall
provide the following information concerning each document over which the claim is asserted: (a)
the type of document withheld (memorandum, letter, report, email, etc.); (b) the identity of each
author, creator or preparer of the document, including their name, title, and business affiliation;
(c) the document’s addressees; (d) the document’s indicated or blind copy recipients; (e) the title
the document bears or the specific subject matter of the document; (f) a short description of the
document and its subject matter sufficient to enable Defendants to determine the validity of the
assertion of the privilege; (g) all persons who drafted, sent, viewed, received or were to receive
any copy or version of the document or to whom any copy or version of the document was

distributed, shown or explained; (h) its present custodian; (i) the nature of the privilege or
 

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protection asserted; and (j) any other information necessary to enable Defendants to evaluate the
validity of the claimed privilege or protection. For all redactions based on such privilege or
protection, or for attachments withheld as privileged or protected, also include identifying
information, such as bates number or file path, to indicate the document of which the redacted
portion or attachment is a part.

10. _‘If part of an otherwise responsive document is withheld subject to a claim of
privilege or protection, only those parts of the document subject to the claim of privilege or
protection shall be deleted or redacted from the document, the deleted or redacted parts shall be
clearly marked as such, and the rest of the document shall be produced.

11. Words used in the plural shall also be taken to mean and include the singular.

12. The words “and” and “or” shall be construed conjunctively or disjunctively as
necessary to make the request inclusive rather than exclusive.

13. Unless otherwise indicated, these requests relate to the time period of 2012 to the
present.

DEFINITIONS
For purposes of these Requests, the following definitions shall apply:

1. “Document” or “documents” shall be defined and construed to the broadest extent

possible and shall have the meaning of “documents or electronically stored information” as set
forth in Fed. R. Civ. P. 34{a), and includes electronically stored information (“ESI”). Foreign
language documents, English language equivalents and English translations shall also be deemed
separate documents.

2. “ESI” means electronically stored information, electronically stored data, or

electronic data, and is to be interpreted broadly to include all types of information, regardless of
 

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the storage media, which requires a computer or other machine to read or process it. ESI (including
active, deleted and fragmentary files) shall be produced in all existing formats, including the
format in which the ESI was originally created and the native file format.

3. “Communication” means the transmission of facts, ideas, thoughts, opinions, data,
or inquiries, and includes any meeting, statement, document, conversation, transmission,
exchange, or request for information, whether by written, oral, electronic, non-verbal or other
means. “Communication” shall include, but is not limited to, electronic mail or “e-mail.”

4. “Person” shall mean and include any natural person, corporation, limited liability
company, partnership, firm, association, joint venture, sole proprietorship, trust, department,
division, agency and any other legal, business, or governmental entity. Unless otherwise stated, all
references to corporations or other legal entities (including, without limitation, any parties to this
action) shall encompass (a) all predecessors or successors of such corporations or legal entities,
(b) all current parents, subsidiaries or affiliates of such corporations or legal entities, and (c) all
current divisions, units, joint ventures, directors, officers, employees, trustees, partners, members,
agents, consultants, accountants, attorneys and representatives of such corporations or legal
entities.

5. “Relate to” or “relating to” shall mean and include constituting, discussing,
mentioning, containing, embodying, reflecting, identifying, incorporating, referring to, dealing
with, or pertaining to in any way.

6. “Including” is intended to illustrate the kind of information responsive to each
request herein. Such examples are not intended to be exhaustive of the information sought and
shall not in any way be read to limit the scope of the requests.

7. “You” or “your” refers to Facebook, Inc.
 

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8. “Facebook account” refers Facebook profiles maintained by individuals and

organizations on the Facebook platform.

9. “Facebook page” refers to individual, organization, and business pages maintained

by individuals and organizations on the Facebook platform.

10. “Facebook group” refers to pages on the Facebook platform — closed or open — that

allow Facebook account users to connect in a shared space.

11. “Instagram account” refers Instagram profiles maintained by individuals and

organizations on the Instagram platform, which is owned by Facebook.

DOCUMENT REQUESTS

1. All documents and communications produced, drafted, posted, or published by

the Facebook page of the Office of the Commander-in-Chief, Senior-General

Ming Aung Hlaing;

2. All documents and communications produced, drafted, posted, or published by

the Facebook account of Myanmar General Min Aung Hlaing;

3. All documents and communications produced, drafted, posted, or published by

the Facebook accounts of the following individuals:

a.

b.

Myanmar Vice Senior General Soe Win;
Myanmar Brigadier General Khin Maung Soe;
Myanmar Brigadier General Aung Aung;
Myanmar Brigadier General Than Oo;
Myanmar General Than Oo;

Myanmar General Aung Kyaw Zaw;

Myanmar Major General Aung Myo Thu;
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h. Myanmar Major General Maung Maung Soe;

i. Myanmar Brigadier General Thura San Lwin;

j. Myanmar Major Thant Zaw Win;

k. Myanmar Officer Tun Naing;

1. Myanmar Border Guard Police Corporal Kyaw Chay;

m. Myanmar Staff Sergeant Ba Kyaw;

n. Myanmar 99" Light Infantry Division Leader Khin Hlaing;
o. Thant Zin Oo; and

p. Phay Sit Gyi.

4. All documents and communications produced, drafted, posted, or published by
the Facebook accounts of the following organizations:

a. Myawady, the television network owned by the Myanmar military;
b. Myanmar 33” Light Infantry Division; and
c. Myanmar 99" Light Infantry Division.

5. All documents and communications produced, drafted, posted, or published by
any Facebook account belonging to the Myanmar Police Force;

6. All documents and communications produced, drafted, posted, or published on
the following Facebook pages: “Beauty and Classic,” “Young Female Teachers,”
Collection of Soldier’s Photos,” “Lord of Heaven,” “Down for Anything,” “Let’s
Laugh Casually,” “We Love Myanmar,” “Knowledge,” and “All About

Myanmar.”
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7.

10.

11.

All documents and communications produced, drafted, posted, or published by
the 20 military individuals and organizations that Facebook banned in August

2018:

. All documents and communications produced, drafted, or published by any other

account belonging to or controlled by a Myanmar state official, representative, or
entity whose account was suspended or terminated by Facebook from 2012 to the
present for concerns relating to human rights or the dissemination of hate speech;
All documents produced, drafted, or published by any other Facebook page
belonging to or controlled by Myanmar state officials, representatives, entities or
groups acting in coordination, or suspected of acting in coordination, with
Myanmar state entities that was suspended or terminated by Facebook from 2012
to the present for “coordinated inauthentic behavior” in violation of Facebook’s
misrepresentation policy;

All documents produced, drafted, or published by any other Facebook group
belonging to or controlled by Myanmar state officials, representatives, entities or
groups acting in coordination, or suspected of acting in coordination, with
Myanmar state entities that was suspended or terminated by Facebook from 2012
to the present for “coordinated inauthentic behavior” in violation of Facebook’s
misrepresentation policy;

All documents and communications produced, drafted, or published by any other
Facebook account belonging to or controlled by Myanmar state officials,
representatives, entities or groups acting in coordination, or suspected of acting in

coordination, with Myanmar state entities that was suspended or terminated by
 

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12.

13.

Facebook from 2012 to the present for “coordinated inauthentic behavior” in
violation of Facebook’s misrepresentation policy;

All documents and communications produced, drafted, or published by any other
Instagram account belonging to or controlled by Myanmar state officials,
representatives, entities or groups acting in coordination, or suspected of acting in
coordination, with Myanmar state entities that was suspended or terminated by
Facebook from 2012 to the present for “coordinated inauthentic behavior” in
violation of Facebook’s misrepresentation policy;

All documents relating to any internal investigations conducted by Facebook of
“coordinated inauthentic behavior,” or other terms of service violations, from 2012
to the present, committed by accounts belonging to or controlled by Myanmar state
officials, representatives, entities or groups acting in coordination, or suspected of

acting in coordination, with Myanmar state entities.
